Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 1 of 23




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                            CASE NO. 1:18-cv-22922-MOORE/SIMONTON


   GERALDINE BUENAVENTURA,
   as personal representative of the
   estate of BEN BUENAVENTURA,

           Plaintiff,

   v.

   NCL (BAHAMAS) LTD.,
   D-I DAVIT INTERNATIONAL, INC.,
   HATECKE SERVICE USA, LLC., and
   D-I DAVIT INTERNATIONAL-HISCHE
   GMBH,

           Defendants.
                                           /

           SUR-REPLY TO DEFENDANT’S REPLY TO PLAINTIFF’S RESPONSE IN
                 OPPOSITION TO MOTION TO COMPEL ARBITRATION

           COMES NOW, the Plaintiff, by and through the undersigned counsel and files her Sur-

   Reply to NCL (Bahamas) Ltd. (“NCL”) Reply to Plaintiff’s Response in Opposition to the Motion

   to Compel Arbitration, and in support thereof states:

   1. NCL contends that arbitration should be compelled because the arbitration panel never

        determined it could not arbitrate this matter generally. Rather, the arbitration panel only ruled

        that the matter was “not ripe” because a formal lawsuit needed to be initiated in order for the

        POEA to have jurisdiction. [D.E. 41 and D.E. 52]

   2. NCL has since filed its Petition for Review in which Defendant makes the exact opposite

        argument to the appellate court in the Philippines. (Petition for Review – Exhibit 1). In its

        Petition for Review NCL argues that the matter was in fact ripe and the arbitration panel

            L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 2 of 23




      “committed serious errors of fact” when it determined it was without jurisdiction to rule on the

      facts at issue and merits of the claim. (Id. p. 2 and 11) Further that the arbitration panel was

      in error when it ruled the dispute between the parties did not constitute a “labor dispute” on

      the issue of “whether or not, herein [NCL] are still liable to pay [Plaintiff]

      compensation/damages on account of tort, over and above/in addition to the settlement

      concluded abroad.” (Exhibit 1, p. 11)

   3. NCL cannot argue in good faith to this Court that the arbitration panel never declined to rule

      on the merits of the claim while at the same time argue to the Philippine appellate court that

      the arbitration panel erred when it determined to lacked jurisdiction to rule on the merits of the

      claim.

   WHEREFORE, the Plaintiff respectfully requests this Court deny the Motion to Compel

   Arbitration.

                                                  Respectfully submitted,

                                                          LIPCON, MARGULIES,
                                                          ALSINA & WINKLEMAN, P.A.
                                                          Attorneys for Plaintiff
                                                          One Biscayne Tower, Suite 1776
                                                          2 South Biscayne Boulevard
                                                          Miami, Florida 33131
                                                          Telephone No.: (305) 373-3016
                                                          Facsimile No.: (305) 373-6204

                                                     By: /s/ Carol L. Finklehoffe
                                                         CAROL L. FINKLEOFFE
                                                         Florida Bar No. 0015903
                                                         cfinklehoffe@lipcon.com




                                                     -2-
           L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 3 of 23




                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on November __, 2018, I electronically filed the foregoing
   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
   is being served this day on all counsel of record or pro se parties identified on the attached Service
   List in the manner specified, either via transmission of Notices of Electronic Filing generated by
   CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
   to electronically receive Notices of Electronic Filing.

                                                     By: /s/ Carol L. Finklehoffe
                                                         CAROL L. FINKLEOFFE

                                        SERVICE LIST
                            Buenaventura v. NCL (Bahamas) Ltd. et. al.
                                  case no.: 18-cv-22922-KMM
    Michael Winkleman, Esq.                       Jerry D. Hamilton, Esq.
    Florida Bar No.: 36719                        Florida Bar No.: 970700
    mwinkleman@lipcon.com                         jhamilton@hamiltonmillerlaw.com
    Carol L. Finklehoffe, Esq.                    Robert M. Oldershaw, Esq.
    Florida Bar No.: 0015903                      Florida Bar No.: 86071
    cfinklehoffe@lipcon.com                       roldershaw@hamiltonmillerlaw.com
    LIPCON, MARGULIES,                            Elisha M. Sullivan, Esq.
    ALSINA & WINKLEMAN, P.A.                      Florida Bar No.: 57559
    One Biscayne Tower, Suite 1776                esullivan@hamiltonmillerlaw.com
    2 South Biscayne Boulevard                    emarrero@hamiltonmillerlaw.com
    Miami, Florida 33131                          dlemus@hamiltonmillerlaw.com
    Telephone No.: (305) 373-3016                 150 S.E. 2nd Avenue, Suite 1200
    Facsimile No.: (305) 373-6204                 Miami, Florida 33131
    Attorneys for Plaintiff                       Tel: (305) 379-3686
                                                  Fax: (305) 379-3690
                                                  Attorneys for Defendant Hatecke Service
                                                  USA, LLC

    Anthony P. Strasius, Esq.                          Curtis Mase, Esq.
    Florida Bar No.: 988715                            Florida Bar No.: 73928
    Anthony.strasius@wilsonelser.com                   cmase@maselaw.com
    Steven C. Jones, Esq.                              kfehr@maselaw.com
    Florida Bar No.: 107516                            Cameron W. Eubanks, Esq.
    Steven.jones@wilsonelser.com                       Florida Bar No.: 85865
    Wilson, Elser, Moskowitz,                          ceubanks@maselaw.com
    Edelman & Dicker, LLP                              rcoakley@maselaw.com
    100 Southeast Second Street, Suite 3800            Adam Finkel, Esq.
    Miami, Florida 33131                               Florida Bar No.: 101505
    Tel: (305) 374-4400                                afinkel@maselaw.com
    Fax: (305) 579-0261                                carbelaez@maselaw.com
    Attorneys for Defendant D-1 Davit                  filing@maselaw.com


                                                     -3-
           L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 4 of 23




    International, Inc.                                Scott P. Mebane, Esq.
                                                       Florida Bar No.: 273030
                                                       smebane@maselaw.com
                                                       ctoth@maselaw.com
                                                       receptionist@maselaw.com
                                                       MASE, MEBANE & BRIGGS
                                                       2601 S. Bayshore, Drive, Suite 800
                                                       Miami, Florida 33133
                                                       Telephone: (305) 377-3770
                                                       Facsimile: (305) 377-0800
                                                       Attorneys for Defendant NCL (Bahamas) Ltd.




                                                     -4-
           L I P C O N ,   M A R G U L I E S ,   A L S I N A   &   W I N K L E M A N ,   P . A .
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 5 of 23




                                                        Exhibit 1
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 6 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 7 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 8 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 9 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 10 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 11 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 12 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 13 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 14 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 15 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 16 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 17 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 18 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 19 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 20 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 21 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 22 of 23
Case 1:18-cv-22922-KMM Document 55-2 Entered on FLSD Docket 11/06/2018 Page 23 of 23
